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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS
                                    KANSAS CITY

   ALANZO A. McINTOSH, JR.,
                                     Plaintiff,
                                                    Case No. 17-CV-02657 DDC/GLR
   vs.

   CAPITAL ONE N.A., et al.,
                                  Defendants.


               NOTICE OF SETTLEMENT WITH DEFENDANTS
        CAPITAL ONE N.A., EXPERIAN INFORMATION SOLUTIONS, INC.,
     TRANS UNION LLC AND EQUIFAX INFORMATION SERVICES LLC ONLY

         Comes now Plaintiff Alanzo A. McIntosh, Jr., by and through his undersigned counsel, and

hereby notifies the Court that the above-captioned lawsuit has been settled regarding Defendants

Capital One N.A., Experian Information Solutions, Inc., Trans Union LLC and Equifax

Information Services LLC only. Plaintiff further states:

         1.     Plaintiff is Alanzo A. McIntosh, Jr.; Defendants are Capital One N.A., Trident

Asset Management LLP, Experian Information Solutions, Inc., Trans Union LLC and Equifax

Information Services, LLC.

         2.     This case was removed to federal court on November 16, 2017 (Doc. 1).

         3.     Plaintiff reached settlements in principle with Defendants Capital One N.A.,

Experian Information Solutions, Inc., and Equifax Information Services LLC.

         4.     Plaintiff and Defendant Trans Union LLC perfected their settlement and filed a

Stipulation of Dismissal of Trans Union LLC only on May 22, 2018 (Doc. 50).

         5.     Plaintiff has not yet reached a settlement agreement with Defendant Trident Asset

Management LLP.
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       6.      Plaintiff anticipates filing a Notice of Dismissal of Defendants Capital One N.A.,

Experian Information Solutions, Inc., and Equifax Information Services LLC only within 30 days.


Dated: May 25, 2018


                                             Respectfully submitted,



                                             By: /s/ A.J. Stecklein
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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing was filed on May 25, 2018, using the District
Court’s CM/ECF electronic filing system, which will send notice to all counsel of record.

                                                    /s/ A.J. Stecklein
                                                    A.J. Stecklein #16330
